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 1   JOSEPH SCHLESINGER, Bar #87692
     Acting Federal Defender
 2   FRANCINE ZEPEDA, Bar #91175
     Assistant Federal Defender
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     Telephone: (559) 487-5561
 5
     Attorneys for Defendant
 6   ROBERT CERVANTES
 7
 8                               IN THE UNITED STATES DISTRICT COURT
 9                             FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )            No. 1:11-cr-00184 AWI-BAM
                                           )
12                     Plaintiff,          )            STIPULATION AND ORDER TO CONTINUE
                                           )            SENTENCING
13         v.                              )
                                           )
14   ROBERT CERVANTES,                     )            DATE: April 29, 2013
                                           )            TIME: 10:00 a.m.
15                    Defendant.           )            JUDGE: Hon. Anthony W. Ishii
     _____________________________________ )
16
17
18          IT IS HEREBY STIPULATED by and between the parties hereto, through their respective
19   counsel, that the sentencing hearing in the above-captioned matter now set for February 25, 2012, may be
20   continued to April 29, 2013 at 10:00 a.m.
21          This continuance is at the request of counsel for defendant. Counsel needs additional time for case
22   review and to meet with defendant with regard to preparation and filing of any appropriate sentencing
23   objections which may be reasonably appropriate on defendant’s behalf prior to hearing. The requested
24   continuance will conserve time and resources for both counsel and the court. Assistant United States
25   Attorney Kimberly Sanchez has no objection to this request.
26   ///
27   ///
28   ///
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 1            Because this is a sentencing hearing, no exclusion of time waiver is needed for the period of time
 2   set forth herein
 3                                                             BENJAMIN B. WAGNER
                                                               United States Attorney
 4
 5   DATED: February 21, 2013                           By: /s/ Kimberly Sanchez
                                                            KIMBERLY SANCHEZ
 6                                                          Assistant United States Attorney
                                                            Attorney for Plaintiff
 7
 8                                                             JOSEPH SCHLESINGER
                                                               Acting Federal Defender
 9
10   DATED: February 21, 2013                           By: /s/ Francine Zepeda
                                                            FRANCINE ZEPEDA
11                                                          Assistant Federal Defender
                                                            Attorneys for Defendant
12                                                          ROBERT CERVANTES
13
14
15                                                    ORDER
     IT IS SO ORDERED.
16
17   Dated:      February 21, 2013
     ciem0h                                SENIOR DISTRICT JUDGE
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28
     Stipulation and Proposed Order
     to Continue Sentencing                                2
